             UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF NORTH CAROLINA


Michael Hood


        v.                                               Case Number: 1:16CV00998


Urber Technologies, Inc., et al



                                  NOTICE
Take notice that a proceeding in this case has been set/reset as indicated below:

              PLACE:        U.S. Post Office Building
                            323 E. Chapel Hill St., Durham, NC
COURTROOM NO.:              Second Floor Courtroom
 DATE AND TIME:             March 22, 2017 at 9:30 a.m.
   PROCEEDING:              Initial Pretrial Conference


Local Rule 16.1(b) provides that the parties must hold their R. 26(f) conference at least 14 days
before the scheduled initial pretrial conference and submit to the court their report within 10
days thereafter. The scheduled initial pretrial conference is automatically canceled upon the
submission to the court of the Joint Rule 26(f) Report (LR 16.2). If parties are unable to reach
agreement on a discovery plan and therefore submit separate Rule 26(f) Reports (LR 16.3),
they shall appear for the scheduled initial pretrial conference.

        __________________________________________________________________

John S. Brubaker, Clerk

By: /s/ Kimberly Garrett, Deputy Clerk


Date:    January 30, 2017

TO:     ALL COUNSEL AND/OR PARTIES OF RECORD




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